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EXHIBIT A

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PLEASE TAKE A MOMENT TO REVIEW THIS LOAN AGREEMENT CAREFULLY. YOU WILL BE REQUIRED TO
ELECTRONICALLY SIGN AND DATE IT. YOU WILL ALSO ELECTRONICALLY SIGN AND DATE THE DISBURSEMENT

AND PAYMENT CHOICE AUTHORIZATIONS.

Loan +: M359.

Agreement Date: 2021-08-23
Effective Date: 2021-08-24

Loan #: E3591.
Loan Type:

West Side Lending, LLC
Po Box 687

Keshena, WI 54135
Phone: 888-217-7531

Name: JOSEPH MORGAN

ANNUAL PERCENTAGE |

urcredit as |.

| Amount Financed

| The amount of credit
4 provided to you or on
‘| your behalf.

Total of Payments

The amount you will
have paid after you have
made all payments as
scheduled.

a $1,500.00 $11,528.89

Your Payment Schedule will be:

Payment Date Payment Due
2021-09-03 $320.90
2021-09-17 $449.07
2021-10-01 $449.07
2021-10-15 $449.07
2021-10-29 $449.07
2021-11-12 $449.07
2021-11-26 $449.07
2021-12-10 $449.07
2021-12-24 $449.07
2022-01-07 $449,07
2022-01-21 $449.07
2022-02-04 $449.07
2022-02-18 $449.07
2022-03-04 $449.07
2022-03-18 $449.07
2022-04-01 $449.07
2022-04-15 $449.07

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2022-04-29 $449.07
2022-05-13 $449.07
2022-05-27 $449.07
2022-06-10 $449.07
2022-06-24 $449.07
2022-07-08 $449.07
2022-07-22 $449.07
2022-08-05 $449.07
2022-08-19 $430.31

Security: If you decide to authorize automatic payments from your bank account, you are giving a security
interest in your Payment Choice Authorization. If you do not authorize automatic payments from your bank
account, you are not giving us a security interest.

Late Charge: If a payment is late by five (5) days or more, you will be charged $25.00 per late scheduled
payment.

Prepayment: If you pay off early, you will not have to pay a penalty.

See the Terms and Conditions of the Loan Agreement below for any additional information about
nonpayment, default, any required repayment in full before the schedule date, and prepayment refunds and
penalties.

ITEMIZATION OF AMOUNT FINANCED: Amount Financed/Amount given to You directly $1,500.00

TERMS AND CONDITIONS
SPECIAL NOTICES:

* YOUR LOAN IS AN EXPENSIVE FORM OF BORROWING.

* YOU CAN SAVE FINANCE CHARGES BY PAYING OFF YOUR LOAN EARLY EITHER IN PART OR IN FULL.

* WE NEVER CHARGE EARLY PAYMENT PANALTIES OR FEES.

* YOUR LOAN IS DESIGNED TO ASSIST YOU IN MEETING YOUR SHORT-TERM CASH NEEDS. IT IS NOTA
SOLUTION FOR LONGER TERM FINANCIAL PROBLEMS.

* NON-PROFIT CREDIT COUNSELING SERVICES MAY BE AVAILABLE IN YOUR COMMUNITY FOR CONSUMERS
EXPERIENCING FINANCIAL PROBLEMS.WE CANNOT COMMIT TO MAKE A LOAN TO YOU UNLESS AND UNTIL
YOUR COMPLETED APPLICATION IS APPROVED BY OUR TRIBAL LOAN CLOSING AGENT.

* WE CANNOT COMMIT TO MAKE A LOAN TO YOU UNLESS AND UNTIL YOUR COMPLETED APPLICATION IS
APPROVED BY OUR UNDERWRITING DEPARTMENT.

In this Agreement ("Agreement") the words "we", "us", and "our" mean West Side Lending, LLC an economic
development arm of, instrumentality of, and a limited liability company wholly-owned and controlled by, the
Menominee Tribe of Wisconsin ("Tribe"), a federally recognized Indian tribe, and any authorized representative,
agent, independent contractor, affiliate or assignee We use in the provision of your loan. "You" and "your"
means the consumer who signs the Agreement electronically. The term "business day” means any calendar day
other than a Saturday, Sunday, or a bank or federal holiday, between the hours of 9:00 am and 5:00 pm EST.

This Agreement is governed by the laws of the Tribe.

IN ORDER TO COMPLETE YOUR TRANSACTION WITH US, YOU MUST ELECTRONICALLY SIGN AND DATE THIS
AGREEMENT. WE CANNOT COMMIT TO MAKE A LOAN TO YOU UNLESS YOUR COMPLETED APPLICATION IS
APPROVED BY OUR UNDERWRITING DEPARTMENT, LOCATED ON THE TRIBE'S RESERVATION. ONCE YOU SIGN
AND SUBMIT THIS AGREEMENT, WE WILL EITHER APPROVE OR DENY YOUR REQUEST FOR CREDIT FROM OUR

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OFFICE LOCATED ON TRIBAL LAND. IF YOUR INFORMATION CANNOT BE VERIFIED BY THE EFFECTIVE DATE,
YOUR REQUEST FOR CREDIT WILL NOT BE APPROVED, WE WILL NOT FUND THE LOAN, AND YOU WILL NOT
INCUR ANY FINANCE CHARGE OR FEES.

PAYMENT DISBURSEMENT OPTIONS

DISBURSEMENT: If your loan is approved, we will process disbursement of your loan proceeds within one (1)
business day of the day your loan is approved. You authorize us to use commercially reasonable efforts to
initiate a credit entry by depositing the proceeds of your loan into your Bank Account as described in your
Disbursement Authorization. The date that your loan proceeds are deposited to your Bank Account is the
"Disbursement Date". Unavoidable delays that occur as a result of bank holidays, the processing schedule of
your individual bank, inadvertent processing errors, "acts of God", and/or “acts of terror" may extend the time
for the deposit and may cause a change in the Disbursement Date and your Annual Percentage Rate ("APR") as
disclosed herein. In the event that disbursement is delayed, the Disbursement Date will automatically adjust to
the actual date of disbursement

AUTHORIZATION FOR ACH CREDIT: You agree that we may initiate a credit entry to your Bank Account for an
amount consistent with this Agreement on or before the Effective Date. If you revoke this authorization before
we credit the loan proceeds to you, then we will not be able to deposit the loan proceeds into your Bank
Account. To find out whether or not a deposit has been made, you may contact customer service at 888-217-
7531.

EXPEDITED FUNDING SERVICE: If you want to receive your loan proceeds sooner than through the usual ACH
credit process, we offer you an Expedited Funding Service. If you choose this Expedited Funding Service, your
joan proceeds are deposited into your Bank Account on the same business day as your loan is approved, if
before 1:00 p.m. Eastern Time, or the next business day if after that time.

For example, if your loan was approved at 12:30 p.m. Eastern Time on Friday, your loan proceeds would likely
be deposited into your Bank Account on Monday. But, if you wanted to use the Expedited Funding Service, then
your loan proceeds would be disbursed to you on Friday.

Note that the timing of when your bank actually makes these funds available to you is entirely controlled by
your bank and not us. If you want to use the Expedited Funding Service, please notify your customer service
representative.

PAYMENT METHOD OPTIONS

PAYMENTS: You are required to make the payments for each period outlined in the payment schedule above
("Installment Period") on or before the payment due dates in the payment schedule ("Payment Due Dates"). If
you would like to repay your loan according to a payment plan other than as set forth herein, you must contact
a customer service representative no later than three (3) days prior to your next scheduled Payment Due Date
to make those payment schedule modifications if you would like them in effect for the next Payment Due Date.
You will make your payments on or before every Payment Due Date until you have paid the entire principal and
accrued finance charge(s) and any other charges as described in this Agreement. If on the final scheduled
Payment Due Date ("Maturity Date"), you still owe amounts under this Agreement, you will pay those amounts
in full on that date.You may elect to make your payments electronically: by ACH debit, by debit card, or by
Remotely Created Check. You may also elect to make your payments by cashier's check or money order and
mail your payments to us. You authorize us to make payments pursuant to the Payment Upon Default payment
options described below.

ELECTRONIC PAYMENT: If you elect to make your payments electronically, then your payment plus any Non-
Sufficient Funds ("NSF"), Late or Refused Instrument Charge fees due to us, if applicable, will be debited
electronically from your Bank Account on each Payment Due Date as set forth in your payment schedule (see
"PAYMENT CHOICE AUTHORIZATION" below) through one of the electronic methods described below. You may
revoke your payments by contacting customer service at 888-217-7531 or emailing us at
support@westsidelend.com. Please note: if your scheduled payment has already been submitted to your
financial institution at the time of revocation, it may be necessary for us to wait until that payment posts before
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we can refund you that payment amount. However, when possible, at the time of revocation, we will void any
pending payment(s). For the purposes of these disclosures, our business days are Monday through Friday from
9:00 am to 5:00 pm EST. Saturdays, Sundays, and Holidays are not included.

PAYMENTS BY ACH DEBIT: You are electing to make payments by the regular payment option by automatic
ACH debit. If you elect to pay by the regular ACH debit option, then you authorize us, our successors and
assigns to initiate automatic debits for payments from your Bank Account. You agree that we will initiate debit
entries on each scheduled payment date or thereafter for the scheduled amount, or any lesser amount you
owe. You authorize us to initiate separate ACH debit entries to your Bank Account identified in the Payment
Choice Authorization for any returned payment and NSF, Late or Refused Instrument Charge fees in the
amounts set forth in this Agreement. You agree that we may reinitiate any ACH up to two (2) additional times
for the same amount if an ACH is dishonored. You do not have to authorize payments by the regular payment
option by ACH debit in order to receive a loan from us. If you do not want to make payments by ACH debit,
you must notify us after you sign this Agreement that you choose to change from the automatic option to one
of the Alternative Voluntary Payment Methods below.

You may revoke this authorization by contacting customer service at 888-217-7531 or emailing us at
support@westsidelend.com not less than three (3) business days prior to the scheduled payment you wish to
revoke. Please note: if your scheduled payment has already been submitted to your financial institution at the
time of revocation, it may be necessary for us to wait until that payment posts before we can refund you that
payment amount. However, when possible, at the time of revocation, we will void any pending payment(s) that
you request be revoked. YOU UNDERSTAND THAT REVOKING YOUR AUTHORIZATION DOES NOT RELIEVE YOU
OF THE RESPONSIBILITY OF PAYING ALL AMOUNTS DUE IN FULL THAT ARE OWED BY YOU UNDER THE LOAN
AGREEMENT.

You have the right to receive notice of all transfers that vary in amount. You acknowledge that we elected to
offer you a specified range of amounts for the recurring ACH processing rather than providing you with a notice
of transfer for each varying amount. The ACH debit may range from the amount provided in this Agreement,
which may be a scheduled payment amount or less if partial prepayments have been made, to the scheduled
payment amount plus applicable NSF, Late, or Refused Instrument Charge fees. We will send you a notice if a
charge exceeds this range.

You authorize us to verify any information that you provide to us, including past and current information from
whatever source. You agree that the ACH entries authorized here are voluntary, and that certain entries will
recur as defined in this Agreement at substantially regular intervals. If there is any missing or erroneous
information in or with your loan application regarding your Bank Account, then you authorize us to verify and
correct the information. If any payment cannot be obtained by ACH, you remain responsible for such payment
and any resulting fees under this Agreement.

Your Bank Account associated with this authorization is listed in the Payment Choice Authorization.

ALTERNATIVE VOLUNTARY PAYMENT METHODS: While your loan is current, you may choose an alternative
payment method, such as by: 1) debit card pursuant to the below "Payment by Debit Card" option, 2) by
cashier's check or money order pursuant to the below "Payment by Cashier's Check or Money Order" option, or
3) by remotely created check pursuant to the below "Payment by Remotely Created Check" option, by
contacting us in writing at support@westsidelend.com or by phone at 888-217-7531 and advising us of your
choice after entering into this Agreement.

PAYMENT BY DEBIT CARD: If you elect to pay by debit card, you agree that we may initiate debit entries to
your debit card on each scheduled payment date or thereafter for the scheduled amount, or any lesser amount
you owe, in three (3) instances: 1) if we cannot process your authorized ACH debits for any reason other than
your revocation of ACH authorization, 2) if you specifically authorize that we debit your debit card identified in
this Agreement, or 3) if you default on a payment.

You authorize us to initiate a separate debit to your debit card for any applicable NSF, Late or Refused
Instrument Charge fees set forth in this Agreement. If the debit entries are dishonored, you authorize us to
initiate separate debit entries to your debit card for the dishonored amount and any late fees or NSF fees.

You may revoke this authorization by contacting customer service at 888-217-7531 or emailing us at
support@westsidelend.com not less than three (3) business days prior to your scheduled payment. Please
note: if your scheduled payment has already been submitted to your financial institution at the time of
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revocation, it may be necessary for us to wait until that payment posts before we can refund you that payment
amount. However, when possible, at the time of revocation, we will void any pending payment(s).

You have the right to receive notice of all transfers that vary in amount. You acknowledge that we elected to
offer you a specified range of amounts for the recurring debit card processing rather than providing you with a
notice of transfer for each varying amount. The debit may range from the amount provided in this Agreement,
which may be a scheduled payment amount or less if partial prepayments have been made, to the scheduled
payment amount plus applicable NSF, Late or Refused Instrument Charge fees. We will send you a notice if a
charge exceeds this range.

PAYMENT BY REMOTELY CREATED CHECK: If you elect to pay by remotely created check, you agree that we
may create checks bearing your typed name and other information as may be required under applicable law,
rather than your handwritten signature, drawn on your Bank Account, and to submit each check for payment to
the bank or other financial institution in the amount of each payment owing to us under this Agreement on or
after each scheduled payment date ("Remotely Created Check"), otherwise known as a demand draft,
telecheck, preauthorized draft or paper draft in four (4) instances: 1) if you have specifically elected to make
your payments by Remotely Created Check, 2) if you elected to make payments by debit card or ACH and you
subsequently revoke either authorization, 3) if we are unable to process your payments by debit card or ACH
for any other reason, or 4) if you have defaulted on a payment.

If a Remotely Created Check is returned unpaid by the Bank or other financial institution, then you authorize us
to create and submit a Remotely Created Check for any NSF, Late or Refused Instrument Charge fees or other
amounts accrued pursuant to this Agreement. You agree that your typed name will constitute your authorized
signature fully reflecting your intent to authenticate any such Remotely Created Check. You authorize us to
vary the amount of any preauthorized payment by Remotely Created Check as needed to repay amounts
owing, as modified by any partial prepayment.

If you would like to dispute a payment related to a Remotely Created Check, determine whether a payment
was genuine, withhold payment of a Remotely Created Check, or obtain recrediting of amounts we obtain via
Remotely Created Check, contact us at 888-217-7531 or email us at support@westsidelend.com.

PAYMENT BY CASHIER'S CHECK OR MONEY ORDER: If you elect to pay by cashier's check or money order, then
you agree to repay all amounts due pursuant to this Agreement by mailing your cashier's checks or money
orders to us at Po Box 687, Keshena WI 54135, All mailed payments must reach us by 4:00 pm Central Time
on or before two [2] business days prior to the Payment Due Date to ensure timely processing of your
payment.

COVERED BORROWER IDENTIFICATION STATEMENT

You represent and warrant that you are not a regular or reserve member of the Army, Navy, Marine Corps, Air
Force or Coast Guard serving on active duty under a call or order that does not specify a period of thirty (30)
days or fewer, or a dependent of such member. You understand that We may verify this statement and are
making this loan in reliance on the truth of this statement.

PLEASE REVIEW THIS DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION VERY CAREFULLY BEFORE
SIGNING

Your ACH Credit Disbursement Authorization

DISBURSEMEN D MENT C E AUTH ION
BUR EMENT AND PAYME HOICE AUTHORIZATION for Loan #: EENNE3S9L
West Side Lending, LLC

Disbursements to and Payments from your Bank Account. By electronically signing this Disbursement and
Payment Choice Authorization below, you voluntarily authorize us to initiate disbursement credits and
payment debits to the following bank account (your "Bank Account").

Transit ABA Number:

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Deposit Account Number: lz

BY TYPING YOUR NAME AND CLICKING THE "I AGREE" BUTTON BELOW, YOU ARE ELECTRONICALLY
SIGNING THIS DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION AND AGREEING TO ALL THE TERMS
OF THIS AUTHORIZATION.

I JOSEPH MORGAN agree that West Side Lending, LLCand its successors and assigns may initiate an ACH
credit disbursement to my Bank Account and may initiate electronic fund transfer payments as described in
this Agreement from my Bank Account.

JOSEPH MORGAN a

DATE: 2021-08-23 17:16:28 EDT

PREPAYMENT: You may prepay all or part of the amount you owe us at any time before the Maturity Date
without penalty. If you prepay in full, you must pay the finance charge(s) accrued on your loan and all other
amounts due up to the date of the prepayment. If you wish to prepay your loan, then you must contact a
customer service representative at 888-217-7531 to obtain an accurate payoff amount and either provide us
with authorization to effect a debit entry to your Bank Account for the prepayment, or otherwise advise us of
your intended method of prepayment. If you prepay all or part of the principal amount due on your loan, your
finance charges on the amount prepaid will be calculated as of the date of your prepayment.

LATE CHARGE: You agree to pay a late charge of $25.00 if a payment is late by five (5) days or more, If you
authorized debits from your Bank Account or debit card in your Payment Choice Authorization, you agree that
we may debit your Bank Account or debit card, as applicable, for any late charges.

REFUSED INSTRUMENT CHARGE: If your payment method is stopped, denied or otherwise dishonored, then
you agree to pay us a fee of $30.00, If you authorized debits from either your Bank Account or debit card in
your Payment Choice Authorization, you agree that we may debit your Bank Account or debit card, as
applicable, for any Refused Instrument Charge. Your refused instrument may also cause your payment to be
late which could result in your having to also pay a late charge.

YOUR PROMISE TO PAY: You promise to pay us, or any subsequent holder of this Agreement, the Amount
Financed and finance charges according to the payment schedule in the Truth in Lending Disclosures plus all
other amounts owed to us under this Agreement. You agree that your finance charges will be calculated at the
Annual Percentage Rate in the Truth in Lending Disclosures. All payments will be applied first to finance
charges and fees and then to principal. If you prepay all or part of the principal amount due on your loan, your
finance charges on the amount prepaid will be calculated as of the date of your prepayment.

WHEN YOU BEGIN PAYING FINANCE CHARGE(S): You begin to accrue finance charge(s) for the loan on the
Disbursement Date. The first Installment Period on the loan begins on the Disbursement Date and ends on the
first Payment Due Date. Thereafter, each Installment Period begins on the first date following the Payment Due
Date and ends on the next Payment Due Date. You will be charged finance charge(s) on the entire Installment
Period beginning on the first day of the Installment Period. In calculating your payments, we have assumed
you will make each payment on the day and in the amount due as outlined within your payment schedule. If
any payment is made before the Payment Due Date, the finance charge(s) will be calculated as of the date of
your prepayment, and any over payment will be applied to the amounts owed under this Agreement. Time is of
the essence, which means that unless you contact customer service and are expressly granted an extension of
time to make payments, there are no grace periods for when payments must be made.

ASSIGNMENT: This Agreement may not be assigned by you. We may assign or transfer this Agreement and our
related rights and obligations without notice to you and your consent is not required if we make such an
assignment or transfer.

VERIFICATION: You authorize us to verify the information you provided to us in connection with your loan
application. You give us consent to obtain information about you from consumer reporting agencies or other
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sources at any time. We reserve the right to withhold funding of this loan, at any time prior to disbursement, to
allow us to verify the information you have provided to us.

CREDIT REPORTING: We may report information about your loan to credit bureaus. Late payments, missed
payments, or other defaults on your loan may be reflected on your credit report.

CANCELLATION: You may cancel your payment obligations under this Agreement, without cost or finance
charges, within 24 hours following the Disbursement Date ("Cancellation Deadline"). Your right to cancel your
loan only applies if your loan either hasn't funded or, if it has, the funds are returned to us as explained below.
To cancel your payment obligations on this loan, you must inform us in writing, by or before the Cancellation
Deadline, either by email to support@westsidelend.com or by fax at 906-373-3033, that you want to cancel the
future payment obligations on this loan. If we timely receive your written notice of cancellation on or before the
Cancellation Deadline but before the loan proceeds have been deposited into your Bank Account, then we will
not debit your Bank Account and both your and our obligations under this Agreement will be rescinded.
However, if we timely receive your written notice of cancellation on or before the Cancellation Deadline but
after the loan proceeds have been deposited into your Bank Account, then you authorize us to effect a debit to
your Bank Account or your debit card as you chose in your Payment Choice Authorization for the principal
amount of this Agreement. If we receive payment of the principal amount via the debit, then both your and our
obligations under this Agreement will be rescinded. If we do not receive payment of the principal amount by
debit to your Bank Account or your debit card, then this Agreement will remain in full force and effect.

CONFIDENTIALITY: We will disclose information to third parties about your account or the transfers you make:
(1) where it is necessary for completing transfers; (2) in order to verify the existence and condition of your
account to a third party, such as a credit bureau or merchant; (3) in order to comply with a government
agency or court orders; or (4) as described in our privacy notice, provided with this Agreement.

CONSEQUENCES OF DEFAULT: Upon a default by you under this Agreement, we may, at our sole option, take
any one or more of the following actions:

a) Agree to permit you to cure a payment default before the loan goes into collection by modifying your
Payment Schedule and/or payment amounts (a "Cure Arrangement”). This option is not available for all
customers and/or all loan products. If we agree to a Cure Arrangement and you fail to honor its terms,

then we will have the right, at our sole discretion, to terminate the Cure Arrangement and immediately

and without notice Accelerate Your Loan;

b) Automatically and without further action or notice Accelerate Your Loan and require you to
immediately pay us all amounts due and owing pursuant to such acceleration;

c) If you have elected to repay your loan electronically, we may automatically and without further action
or notice withdraw from your designated account(s) an amount equal to the amount owed and unpaid as
of your last scheduled payment date up to an amount equal to the amount owed if we have Accelerated

Your Loan;

d) Pursue all legally available means to collect what you owe us; and

e) Submit your name to a collection agency and we may also report the incident to a consumer reporting
agency database. This may negatively impact your ability to write checks or to receive loans or advances
from other companies.

By electing any one of these options, we do not waive or release our right to subsequently elect and apply any
other options to collect the amounts due and owing to us including causing repayment pursuant to the
following "Payment While in Default" section.

PAYMENT WHILE IN DEFAULT. In the event of your default, you separately authorize us, and our successors,
agents, or assigns, to Accelerate Your Loan and cause repayment by ACH, Debit Card, remotely created check,
or voluntary wage assignment in our discretion as set forth in the following sections. In the event of your
default, you separately authorize us, and our successors, agents, or assigns, to Accelerate Your Loan by
initiating a one-time automatic debit entry to your Bank Account or Debit Card (if applicable) in the amount of
the entire outstanding balance under this Agreement. You agree that we will initiate the single electronic debit
entry only for the outstanding amount owing at the time of acceleration, and within a reasonable time after
default. You authorize us to re-initiate the debit entry up to two (2) additional times if the debit entry is
returned unpaid. You authorize us to verify all of the information that you have provided to us relating to your
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Bank Account and Debit Card. If there is any missing or erroneous information in or with your loan application
regarding your Bank Account or Debit Card, then you authorize us to verify and correct such information. You
may revoke the authorizations by contacting us in writing at support@westsidelend.com or by phone at 888-
217-7531 . Please note, however, that even though you may revoke this authorization, you are still required to
pay all amounts due under this Agreement.

AUTHORIZATION FOR REMOTELY CREATED CHECKS UPON DEFAULT. In the event of your default, you
separately authorize us, and our successors, agents, or assigns, to create checks bearing your typed name and
other information as may be required under applicable law instead of your handwritten signature, drawn on
Your Bank Account ("Remotely Created Check"), and to submit each such Remotely Created Check for payment
to us in the amount of each payment owing to us under this Agreement on or after each Due Date. If a
Remotely Created Check is returned unpaid by the Bank or other financial institution, then you authorize us to
create and submit a Remotely Created Check for any returned payment fee, or other amounts accrued
pursuant to this Agreement. You agree that your typed name or other designation mandated by applicable law
will constitute your authorized signature, fully reflecting your intent to authenticate any such Remotely Created
Check, If You believe we charged Your Bank Account in a manner not agreed to by this authorization, please
contact us. You authorize us to vary the amount of any preauthorized payment by Remotely Created Check as
needed to repay amounts due and owing, as modified by any partial prepayments. This Remotely Created
Check authorization is effective only if you (1) originally selected ACH debits or automatic debits to your Debit
Card as your payment method and then you revoke the authorization, (2) we are unable to process your
payments by either method for any reason, or (3) You defaulted on a payment. If you would like to dispute a
payment related to a Remotely Created Check, determine whether a payment was genuine, withhold payment
of a Remotely Created Check, or obtain re-crediting of amounts we obtained via a Remotely Created Check,
contact us by calling 888-217-7531. YOU UNDERSTAND THAT REVOKING YOUR AUTHORIZATION DOES NOT
RELIEVE YOU OF THE RESPONSIBILITY OF PAYING ALL AMOUNTS DUE IN FULL THAT ARE OWED BY YOU
UNDER THE LOAN AGREEMENT.

VOLUNTARY WAGE ASSIGNMENT UPON DEFAULT. If your selected method of payment(s) (i.e. ACH
Authorization, Alternative Voluntary Payment Method, etc.) under your Loan Agreement (GR 3591) with
us dated 2021-08-23 is dishonored or returned unpaid and you have not otherwise made payment in full, then
you authorize and instruct your current employer or any subsequent employer to deduct amounts owing to us
from your wage and pay the amounts directly to us on your behalf until such amounts are paid in full unless
otherwise limited by applicable law. You will be notified prior to this Voluntary Wage Assignment being sent to
your employer. YOU UNDERSTAND THAT REVOKING YOUR AUTHORIZATION DOES NOT RELIEVE YOU OF THE
RESPONSIBILITY OF PAYING ALL AMOUNTS DUE IN FULL THAT ARE OWED BY YOU UNDER THE LOAN
AGREEMENT.

NOTE: THIS VOLUNTARY WAGE ASSIGNMENT IS REVOCABLE AT WILL. You may revoke this Voluntary Wage
Assignment by sending a written revocation to us at Po Box 687. The written revocation must state your name,
date of your Loan Agreement, and a statement that you wish to revoke the Voluntary Wage Assignment.

PLEASE REVIEW THIS PAYMENT AUTHORIZATION UPON DEFAULT VERY CAREFULLY BEFORE SIGNING

DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION for
West Side Lending, LLC Loan + ss:

Your ACH, Debit, Remotely Created Check, and Voluntary Wage Assignment Authorization Upon Default

By electronically signing this Payment Authorization Upon Default, you voluntarily authorize us and our
successors and assigns to initiate the debit(s) you have authorized in the Payment While in Default section.
This Payment Choice Authorization is a part of and relates to this Agreement.

BY TYPING YOUR NAME AND CLICKING THE "I AGREE” BUTTON BELOW, YOU ARE ELECTRONICALLY
SIGNING THIS DEFAULT PAYMENT CHOICE AUTHORIZATION AND AGREEING TO ALL THE TERMS OF THIS
AUTHORIZATION.

1 JOSEPH MORGAN agree that West Side Lending, LLCand Its successors and assigns may initiate electronic
fund transfer payments from my Bank Account as Indicated In the Payment Authorization Upon Default
Section.

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JOSEPH MORGAN

DATE: 2021-08-23 17:16:31 EDT

GOVERNING LAW: The laws of the Tribe and applicable federal law will govern this Agreement, without regard
to the laws of any state or other jurisdiction, including the conflict of laws rules of any state. You agree to be
bound by Tribal law, and in the event of a bona fide dispute between you and us, Tribal law and applicable
federal law shall exclusively apply to such dispute.

SOVEREIGN IMMUNITY AND PRESERVATION OF SOVEREIGN IMMUNITY: This Agreement and all related
documents are being submitted by you to us as an economic development arm, instrumentality, and limited
liability company of the Tribe. The Tribe is a federally recognized Indian Tribe and enjoys sovereign immunity.
Nothing in this Agreement constitutes a waiver of the Tribe’s sovereign immunity and the Tribe’s immunity is
fully preserved and is not waived either in whole or in part by this Agreement and the Tribe expressly
maintains all rights, titles, privileges, and immunities, to which the Tribe is entitled. No waiver of the Tribe’s
immunity is or can be made except by express written declaration of the Tribe’s Tribal Council specifically
authorizing a waiver for the matter in question, in the manner prescribed under the Tribe’s Constitution. No
such waiver has been made by the Tribe with respect to your Agreement with West Side Lending LLC. As set
forth herein, the Tribe expressly preserves its sovereign immunity and you may not assert any claims against
the Tribe.

As an economic development arm and instrumentality of the Tribe, West Side Lending LLC enjoys sovereign
immunity to the same extent as the Tribe, which, under controlling Tribal and federal law, includes the right
and authority to consent to a waiver, if any, of the sovereign immunity of West Side Lending LLC, and not on
behalf of any other entity, including the Tribe, or any other third party. To protect and preserve the rights of
the parties to this Agreement, no person may assume any waiver of sovereign immunity except as expressly
set forth herein by West Side Lending LLC, and only to the extent that West Side Lending LLC, an economic
development arm and instrumentality of the Tribe, has specifically consented to any such waiver as set forth
herein. To encourage resolution of consumer complaints, a complaint may be submitted by you or on your
behalf pursuant to the Arbitration Provision set forth in this Agreement or, if you duly opt out of the Arbitration
Provision, pursuant to the Tribal Dispute Resolution Procedure defined below. Any complaint made by you is
limited by the terms of this Agreement, Tribal law, and/or applicable United States federal law. You may not
pursue any dispute arising from this Agreement in any state court, as sovereign immunity from any such claims
or unconsented suit is expressly preserved by West Side Lending LLC.

Credit is being extended to you on the basis of the inclusion of the within Arbitration Provision. By accepting
this Agreement, unless you reject arbitration as provided below, you acknowledge that:

(a) For the purpose of allowing you (and only you) to take action solely to enforce the provisions of this
Agreement pursuant to the Arbitration Provision;

(b) Subject to the Arbitration Provision provided herein, pursuant to its limited waiver, West Side
Lending LLC expressly waives its immunity for the limited purposes of binding arbitration pursuant to the
Arbitration Provision and the enforcement of any award resulting therefrom in the Tribal Court of the
Menominee Indian Tribe of Wisconsin, and the Tribal appellate courts therefrom (the “Permitted
Forums”) for any claims arising out of this Agreement.

(c) The limited waiver of sovereign immunity granted herein does not include any waiver, either express
or implied, to any third party. The limited waiver of sovereign immunity granted herein is of West Side
Lending LLC only and does not include a waiver, either express or otherwise, by the Tribe, any entity of
the Tribe other than West Side Lending LLC, or otherwise.

(d) West Side Lending LLC represents and warrants that the foregoing limited waiver of sovereign
immunity is valid and has been duly authorized.

WAIVER OF THE RIGHT TO INITIATE OR PARTICIPATE IN A CLASS ACTION: Please read this carefully as YOU
ARE GIVING UP THE RIGHT TO INITIATE OR PARTICIPATE IN A CLASS ACTION. You hereby knowingly and

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voluntarily WAIVE THE RIGHT TO LITIGATE DISPUTES AS A MEMBER OF A CLASS OR THE RIGHT TO INITIATE
OR PARTICIPATE IN A CLASS ACTION on all disputes subject to this Agreement. You further acknowledge that
you have read this provision carefully, agree to its terms, and are entering into this Agreement voluntarily and
not in reliance on any promises or representations whatsoever except those contained in this Agreement. THIS
AGREEMENT REQUIRES INDIVIDUAL'S CLAIMS TO BE ARBITRATED AND FORBIDS CLASS ACTION CLAIMS
UNLESS YOU (1) ARE SUBJECT TO THE PROTECTIONS OF THE MILITARY LENDING ACT, OR (2) EXERCISE
YOUR RIGHT TO REJECT ARBITRATION AS PROVIDED IN THE ARBITRATION PROVISION THAT IS SET FORTH
AT THE END OF THIS AGREEMENT.

WAIVER OF JURY TRIAL: YOU ARE GIVING UP THE RIGHT TO LITIGATE DISPUTES BEFORE A JURY. You hereby
knowingly and voluntarily WAIVE THE RIGHT TO HAVE A JURY TRIAL on all disputes arising from this Agreement
. You further acknowledge that you have read this provision carefully, agree to its terms, and are entering into
this Agreement voluntarily and not in reliance on any promises or representations whatsoever except those
contained in this Agreement.

QUESTIONS OR CONCERNS: If you have questions or concerns and need assistance, please telephone us at
888-217-7531

ARBITRATION PROVISION

This section is an arbitration provision and contains important Information that affects your legal rights. PLEASE
READ IT CAREFULLY.

YOU ACKNOWLEDGE AND AGREE AS FOLLOWS: .

For purposes of this Agreement, the words "dispute" and "disputes" are given the broadest possible meaning
and include, without limitation, (a) all claims, disputes, or controversies arising from or relating directly or
indirectly to the signing of this Arbitration Provision, the validity and scope of this Arbitration Provision and any
claim or attempt to set aside this Arbitration Provision; (b) all tribal, federal, or state law claims, disputes or
controversies, arising from or relating directly or indirectly to this Agreement, the information you gave us
before entering into this Agreement, including the customer information application, and/or any past
agreement or agreements between you and us; (c) all counterclaims, cross-claims, and third-party claims; (d)
all common law claims, based upon contract, tort, fraud, or other intentional torts; (e) all claims based upon a
violation of any tribal, state, or federal constitution, statute or regulation; (f) all claims asserted by us against
you, including claims for money damages to collect any sum we claim you owe us; (g) all claims asserted by
you individually against us and/or any of our employees, agents, service providers, directors, officers,
shareholders, governors, managers, members, parent company, or affiliated entities (hereinafter collectively
referred to as "related third parties"), including claims for money damages and/or equitable or injunctive relief;
(h) all claims asserted on your behalf by another person; and/or (i) all claims arising from or relating directly or
indirectly to the disclosure by us or related third parties of any non-public personal information about you.

WAIVER OF THE RIGHT TO INITIATE OR PARTICIPATE IN A CLASS ACTION ARBITRATION: Please read this
carefully as YOU ARE GIVING UP THE RIGHT TO INITIATE OR PARTICIPATE IN A CLASS ACTION ARBITRATION.
You hereby knowingly and voluntarily WAIVE THE RIGHT TO ARBITRATE DISPUTES AS A MEMBER OF A CLASS
OR THE RIGHT TO INITIATE OR PARTICIPATE IN A CLASS ACTION ARBITRATION on all disputes arising from
this Agreement. You further acknowledge that you have read this provision carefully, agree to its terms, and
are entering into this Agreement voluntarily and not in reliance on any promises or representations whatsoever
except those contained in this Agreement. All disputes including any claims that might otherwise be asserted as
representative claims against us and/or related third parties shall be resolved by binding arbitration only on an
individual basis with you. THEREFORE, THE ARBITRATOR SHALL NOT CONDUCT CLASS ARBITRATION; THAT
IS, THE ARBITRATOR SHALL NOT ALLOW YOU TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY
GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION.

ACKNOWLEDGEMENT OF ARBITRATION

Credit is being extended to you on the basis of the inclusion of the within Arbitration Provision. By accepting
this Agreement, unless you reject arbitration as provided below, you acknowledge that:

(a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED
AGAINST US OR RELATED THIRD PARTIES;
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(b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US
OR RELATED THIRD PARTIES; and

(c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY
GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF
A CLASS OF CLAIMANTS, IN ANY or ARBITRATION LAWSUIT FILED AGAINST US AND/OR RELATED
THIRD PARTIES.

(d) YOU MAY NOT PURSUE ANY DISPUTE ARISING FROM THIS AGREEMENT IN ANY STATE COURT.

Any party to a dispute, including related third parties, may send the other party written notice by certified mail,
return receipt requested, of their intent to arbitrate and setting forth the subject of the dispute along with the
relief requested, even if a lawsuit has been filed. Regardless of who demands arbitration, you shall have the
right to select any of the following arbitration organizations to administer the arbitration: the American
Arbitration Association ("AAA") (1-800-778-7879) http://www.adr.org or Judicial Arbitration and Mediation
Services ("JAMS") (1-800-352-5267) https://www.jamsadr.com/ (each AAA and JAMS referred to here as
"Arbitration Organizations"). The limited waiver of sovereign immunity provided for by the Arbitration Provision
of this Agreement is for the Arbitration Provision only and for no other express or implied purpose. The limited
waiver of sovereign immunity is granted by West Side Lending, LLC only and does not waive the sovereign
immunity of the Menominee Indian Tribe of Wisconsin or any other subdivision or enterprise of the Menominee
Indian Tribe of Wisconsin all of which are expressly preserved,

The party receiving notice of arbitration will respond in writing by certified mail, return receipt requested,
within twenty (20) days. If you demand arbitration, you must inform us in your demand of the Arbitration
Organization that you have selected. If related third parties or we demand arbitration, you must notify us
within twenty (20) days in writing by certified mail, return receipt requested, of your decision to select an
Arbitration Organization. If you fail to notify us, then we have the right to select an Arbitration Organization.
The parties to such dispute will be governed by the laws of the Menominee Tribe of Wisconsin, federal law, and
such rules and procedures used by the applicable arbitration organization applicable to consumer disputes, to
the extent those rules and procedures: (i) do not proscriptively waive federal law, or (ii) contradict the express
terms of this Arbitration Provision or the law of the Tribe, including the limitations on the arbitrator set forth
below. The arbitrator is not prevented from considering federal or state defenses to arbitrability, and nothing in
this Agreement and and/or the Arbitration Provision of this Agreement should be read as displacing federal
arbitration law or act as prospective waiver of federal law. Any ambiguity in the choice-of-law provision in this
Agreement and Arbitration Provision shall be resolved in favor of arbitration. You may obtain a copy of the
rules and procedures by contacting the Arbitration Organization listed above.

You have the right to request that arbitration take place within thirty (30) miles of your residence or some
other mutually agreed upon location, provided, however, that such election to enter into binding arbitration
occur somewhere other than on Tribal land shall in no way be construed as a waiver of sovereign immunity or
allow for the application of any other law other than the laws of the Tribe and applicable federal law, and
federal and state law defenses to the extent such defenses applies to the question of arbitrability of a dispute in
accordance with the terms of this Agreement.

Regardless of who demands arbitration, we will advance your portion of the arbitration expenses, including the
filing, administrative, hearing, and arbitrator's fees (“Arbitration Fees") at your request. Throughout the
arbitration, each party shall bear his or her own attorneys’ fees and expenses, such as witness and expert
witness fees, if any. The arbitrator shall apply applicable substantive Tribal law consistent with the Federal
Arbitration Act (FAA), and applicable statutes of limitation, and shall honor claims of privilege recognized at
jaw. The arbitrator may decide, with or without a hearing, any motion that is substantially similar to a motion
to dismiss for failure to state a claim or a motion for summary judgment. If allowed by statute or applicable
law, the arbitrator may award statutory damages and/or reasonable attorneys’ fees and expenses. If the
arbitrator renders a decision or an award in your favor resolving the dispute, then you will not be responsible
for reimbursing us for your portion of the Arbitration Fees, and we will reimburse you for any Arbitration Fees
you have previously paid. If the arbitrator does not render a decision or an award in your favor resolving the
dispute, then the arbitrator shall require you to reimburse us for the Arbitration Fees that we have advanced
less any Arbitration Fees you have previously paid. At the timely request of any party, the arbitrator shall
provide a written explanation for the award. The arbitrator's award is binding and not appealable.
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All parties, including related third parties, shail retain the right to enforce an arbitration award before the
applicable governing body of the Menominee Tribe of Wisconsin ("Tribal Forum") or a United States Federal
District Court. Both you and we expressly consent to the jurisdiction of the Tribal government or a United
States Federal District Court for the sole and limited purposes, and only for the sole and limited purposes, of
enforcing the arbitration award as necessary.

This Arbitration Provision is made pursuant to a transaction involving both interstate commerce and Indian
commerce under the United States Constitution and other federal and tribal laws. Thus, any arbitration shall be
governed by the FAA, federal law inclusive of federal statutory rights and remedies, and subject to the laws of
the Menominee Tribe of Wisconsin. If a final non-appealable judgment of a court having jurisdiction over this
transaction and the parties finds, for any reason, that the FAA does not apply to this transaction, then our
agreement to arbitrate shall be governed by the laws of the Menominee Tribe of Wisconsin and federal law.

You have the right to request that arbitration take place within thirty (30) miles of your residence or some
other mutually agreed upon location, provided, however, that such election to have binding arbitration occur
somewhere other than on Tribal land shall in no way be construed as a waiver of sovereign immunity or allow
for the application of any other law other than the laws of the Menominee Tribe of Wisconsin and federal law,
and federal and state defenses to the extent it applies to arbitrability of a dispute.

This Arbitration Provision is binding upon and benefits you, your respective heirs, successors and assigns. This
Arbitration Provision is binding upon and benefits us, our successors and assigns, and related third parties. This
Arbitration Provision continues in full force and effect, even if your obligations have been paid or discharged
through bankruptcy. This Arbitration Provision survives any cancellation, termination, amendment, expiration
or performance of any transaction between you and us and continues in full force and effect unless you and we
otherwise agree in writing. If any of this Arbitration Provision is held invalid, the remainder shall remain in
effect to the greatest extent permissible under applicable law.

HOW TO REJECT THIS ARBITRATION PROVISION

YOU MAY REJECT THIS ARBITRATION PROVISION BY CONTACTING US USING ELECTRONIC
COMMUNICATIONS, CALLING US, OR WRITING TO US, AND STATING THE FOLLOWING: (i) your name; (ii)the
email address associated with your account; (iii) the address associated with your account; and (iv) that you
are exercising your right to reject this arbitration provision (a "rejection notice"). YOUR REJECTION NOTICE
MUST BE RECEIVED WITHIN 30 DAYS AFTER THE YOU SIGN THIS AGREEMENT. If your rejection notice
complies with these requirements, this arbitration provision will not apply to you, except for any claims subject
to pending litigation or arbitration at the time you send your rejection notice. Any rejection notice that complies
with this provision will apply to both us and our affiliates. Rejection of the arbitration will not affect your other
rights or responsibilities under this Arbitration Provision or this Agreement.

IF YOU REJECT THIS ARBITRATION PROVISION

If you reject this Arbitration Provision, you agree that any and all disputes arising hereunder shall be resolved
pursuant to the tribal dispute resolution procedure under the Menominee Tribal Consumer Financial Services
Regulation (the "Tribal Dispute Resolution Procedure"). Instructions on how to have your dispute resolved in
this manner are available here: http://www.westsidelend.com/resolving-consumer-disputes. YOU MAY NOT
PURSUE ANY DISPUTE ARISING FROM THIS AGREEMENT IN ANY STATE COURT. YOU MAY NOT PURSUE ANY
DISPUTE ARISING FROM THIS AGREEMENT IN ANY FEDERAL COURT UNLESS AND UNTIL YOU HAVE
EXHAUSTED PROCEEDINGS UNDER THIS SECTION BY ALLOWING A FULL RECORD TO BE DEVELOPED IN THE
TRIBAL COURT PURSUANT TO THE MENOMINEE TRIBAL CONSUMER FINANCIAL SERVICES REGULATION.

ARBITRATION PROVISION AUTHORIZATION

BY TYPING YOUR NAME AND CLICKING THE "I AGREE" BUTTON BELOW, YOU ARE ELECTRONICALLY
SIGNING THIS ARBITRATION PROVISION AND AGREEING TO ALL THE TERMS OF THIS ARBITRATION
PROVISION.

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY COMPLETED COPY OF THIS
DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION OR WILL REQUEST THAT A PAPER COPY BE
DELIVERD TO YOU FOR YOUR RECORDS.

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I JOSEPH MORGAN agree to this Arbitration Provision.

JOSEPH MORGAN

DATE: 2021-08-23 17:16:34 EDT

CONSENTS TO CERTAIN COMMUNICATIONS
CONSENT TO ELECTRONIC COMMUNICATIONS

The following terms and conditions govern electronic communications in connection with this Agreement and
the transaction evidenced hereby (this "Consent"). By electronically signing this Agreement you are confirming
that you have agreed to the terms and conditions of this Consent and that you have the ability to download or
print a copy of this Consent for your records. You further agree that:

Any disclosure, notice, record or other type of information that is provided to you in connection with your
transaction with us, including but not limited to, this Agreement, this Consent, disclosures, change-in-term
notices, fee and transaction information, statements, delayed disbursement letters, notices of adverse action,
and transaction information (collectively, "Communications"), may be sent to you electronically by sending it to
you by e-mail as permitted by applicable law.

We will not be obligated to provide any Communication to you in paper form unless you specifically request us
to do so

You may obtain a copy of any Communication by contacting us at www. westsidelend.com, writing to us at
support@westsidelend.com, or by calling us at 888-217-7531. You will not be charged a fee for such copy. You
also can withdraw your consent to ongoing electronic communications in the same manner, and ask that they
be sent to you in paper or non-electronic form. If you choose to receive Communications in paper or non-
electronic form, we may elect to terminate this Agreement and demand payment of the amount then due by
the date of your withdrawal of consent; or by the expiration of any minimum term mandated by law, whichever
is later.

You agree to provide us with your current e-mail address for notices at the address or phone number indicated
above. If your e-mail address changes, you must send us a notice of the new address by writing to us or
sending us an e-mail, using secure messaging, at least 5 days before the change.

In order to receive electronic communications in connection with this transaction, you will need a working
connection to the Internet. Your browser must support the Secure Sockets Layer (SSL) protocol. SSL provides
a secure channel to send and receive data over the Internet. Microsoft Internet Explorer 6 or equivalent
browser and above supports this feature. You will also need either a printer connected to your computer to
print disclosures/notices or sufficient hard drive space available to save the information (e.g., 1 megabyte or
more). You must have your own Internet service provider. We may amend (add to, delete or change) the
terms of this Consent to electronic communication by providing you with advance notice.

CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES

CONSENT TO TELEPHONE CALLS AND TEXT MESSAGES. By electronically signing this Agreement by clicking the
"Tl AGREE" button and entering your name below, you consent to receiving calls and Text Messages pertaining
to your loan, including but not limited to, payment information, account information, due dates, delinquencies,
program updates relating to your loan, and collection efforts, at any phone number you have provided to us,
our assignee(s), or anyone trying to collect the loan. You consent to calls and text messages using an
automatic telephone dialing system or an artificial or prerecorded voice.

How To Unsubscribe: You may withdraw your consent to receive Text Messages by texting "STOP" to the
message you receive, calling us at 888-217-7531 or emailing us at support@westsidelend.com. You may
withdraw your consent to receive telephone calls using an automatic telephone dialing system or an artificial or
prerecorded voice by calling us at 888-217-7531 or emailing us at support@westsidelend.com. At our option,
we may treat your provision of an invalid mobile phone number, or the subsequent malfunction of a previously

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valid mobile phone number, as a withdrawal of your consent to receive calls or Text Messages. We will not
impose any fee upon you to process the withdrawal of your consent to receive calls or Text Messages. Any
withdrawal of your consent to receive calls or use Text Messages will be effective only after we have a
reasonable period of time to process your withdrawal.

In order to access, view, and retain Text Messages that We make available to You, You must have: (1) a Text
Message-capable mobile phone, (2) an active mobile phone account with a communication service provider;
and (3) sufficient storage capacity on Your mobile phone.

To request additional information, text "HELP" to the message you receive or contact us by telephone at 888-
217-7531.

The services are available from most of the carriers that offer Text Messaging. Consult your mobile service
carrier to confirm that they offer Text Messaging.

There is no service fee for Text Messages but you are responsible for all charges imposed by your
communications service provider, such as fees associated with Text Messaging. Consult your mobile service
carrier's pricing plan to determine the charges for sending and receiving Text Messages. These charges will
appear on your phone bill. Message frequency depends on account settings

You agree that We may send any Operational Text Messages related to Your loan through Your communication
service provider in order to deliver them to You and that Your communication service provider is acting as Your
agent in this capacity. You agree to indemnify, defend and hold Us harmless from and against all claims,
losses, liability, cost, and expenses (including reasonable attorneys' fees) arising from Your provision of a
mobile phone number that is not Your own or Your violation of applicable federal, state or local law, regulation
or ordinance relating to Text Messages. Your obligation under this paragraph shall survive termination of this
Loan Agreement. You agree that Text Messages are provided for Your convenience only.

Receipt of each Text Message may be delayed or impacted by factors pertaining to your communications
service provider. We will not be liable for losses or damages arising from any disclosure of account information
to third parties, non-delivery, delayed delivery, misdirected delivery or mishandling of, or inaccurate content in,
the Text Messages sent by us. We may modify or terminate our Text Messaging services from time to time, for
any reason, with or without notice, and without liability to you, any other user or third party.

CONSENT TO RECEIVE ADVERTISING OR TELEMARKETING TEXT MESSAGES AND TELEPHONE CALLS

By signing this section, you consent to our sending you Advertising and Telemarketing Text Messages to the
mobile phone number you have provided below. You also consent to our making advertising or telemarketing
calls to you at your mobile phone number using automatic telephone dialing system or an artificial or
prerecorded voice calls or texts.

Signing this section will be deemed to be your signature acknowledging your consent to receive Advertising
and Telemarketing Text Messages and telephone calls as described above to your mobile phone at 888-217-

7531.

You are not required to consent to Advertising or Telemarketing Text Messages or calls to obtain credit or
other services from us. At any time, you may withdraw your consent to receive Advertising or Telemarketing
Text Messages or marketing calls to the mobile number provided by calling us at 888-217-7531 or emailing
us at support@westsidelend.com .

You understand that: any Text Messages We send You may be accessed by anyone with access to Your Text
Messages; and Your mobile phone service provider may charge You fees for Text Messages that We send
You, and You agree that We shall have no liability for the cost of any Text Messages.

JOSEPH MORGAN

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COVERED BORROWER IDENTIFICATION STATEMENT

We provide important protections to active duty members of the Armed Forces and their dependents. To
ensure that these protections are provided to eligible applicants, we require you to select and electronically
sign this statement if applicable:

1 AM NOT a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast Guard, serving
on active duty under a call or order that does not specify a period of thirty (30) days or fewer (or a
dependent of such a member).

BY TYPING YOUR NAME AND CLICKING THE "I AGREE" BUTTON BELOW, YOU ARE ELECTRONICALLY
SIGNING THIS COVERED BORROWER IDENTIFICATION STATEMENT.

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY COMPLETED COPY OF THIS
DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION OR WILL REQUEST THAT A PAPER COPY BE
DELIVERD TO YOU FOR YOUR RECORDS.

I JOSEPH MORGAN agree to this Covered Borrower Identification Provision.

JOSEPH MORGAN
DATE: 2021-08-23 17:16:40 EDT

SIGNATURE AND ACCEPTANCE OF ALL TERMS AND CONDITIONS

BY ENTERING YOUR NAME AND CLICKING THE "I AGREE" BUTTON BELOW, YOU ARE ELECTRONICALLY
SIGNING THIS LOAN AGREEMENT AND AGREEING TO ALL THE TERMS OF THIS LOAN AGREEMENT
INCLUDING:

ACH CREDIT DISBURSEMENT AUTHORIZATION

PAYMENT AUTHORIZATION UPON DEFAULT

ARBITRATION PROVISION AUTHORIZATION

THE CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES
THE COVERED BORROWER IDENTIFICATION STATEMENT

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY COMPLETED COPY OF THIS
LOAN AGREEMENT OR WILL REQUEST THAT A PAPER COPY BE DELIVERD TO YOU FOR YOUR RECORDS.

JOSEPH MORGAN

DATE: 2021-08-23 17:16:44 EDT

ERROR RESOLUTION NOTICE: In the event (i) you have a question about an electronic transfer or if (ii) you
find an error, you must telephone us at 888-217-7531, email us at support@westsidelend.com, or contact us
by mail at Po Box 687, Keshena WI 54135. We must hear from you no later than sixty (60) days after the
FIRST debit or credit that is the basis of the problem or error. (1) Tell us your name and account number (if
any); (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
believe it is an error or why you need more information; and (3) Tell us the dollar amount of the suspected
error, If you tell us orally, we may require that you send us your complaint or question in writing within ten
(10) business days. We will determine whether an error occurred within ten (10) business days after we hear
from you and will correct any error promptly. If we need more time, however, we may take up to forty-five
(45) days to investigate your complaint or question. If we decide to do this, we will credit your account
within ten (10) business days for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation. If we ask you to put your complaint or
question in writing and we do not receive it within ten (10) business days, we may not credit your account.

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For errors involving new accounts, we may take up to ninety (90) days to investigate your complaint or
question. For new accounts, we may take up to twenty (20) business days to credit your account for the
amount you think is in error. We will tell you the results within three (3) business days after completing our
investigation. If we decide that there was no error, we will send you a written explanation. You may ask for
copies of the documents that we used in our investigation.

PRIVACY POLICY

Rev. November 2017

WHAT DOES West Side Lending, LLC DO WITH YOUR PERSONAL INFORMATION?

Financial companies choose how they share Your personal information. Consumers have the right
to limit some but not all sharing. This notice tells You how We collect, share, and protect Your
personal Information. Please read this notice carefully to understand what We do.

The types of personal information We collect and share depend on the product or service You
have with Us. This information can include:

*Social Security number and checking account information

*Payment history and income

*Employment information and wire transfer instructions

All financial companies need to share customers' personal Information to run their everyday
business. In the section below, We list the reasons financial companies can share their customers
personal information; the reason West Side Lending, LLC chooses to share; and whether You can

limit this sharing.

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teal Reels Ma RONSsT-Ix-Tam Sate Kg

For our everyday business purposes - such as to process your
transactions, maintain your account(s), respond to court orders | YES NO
and legal investigations, or report to credit bureaus.

For our marketing purposes to offer our products and services
YES NO

to You
For joint marketing with other financial companies YES NO
For our affiliates' everyday business purposes-information about YES NO
your transactions and experiences
For our affiliates' everyday business purposes-information about

. YES YES
your creditworthiness
For our affiliates to market to you YES YES
For non-affiliates to market to you YES YES

*Call 888-217-7531 and our menu will prompt You through Your choices or

*Visit Us on the web at www.westsidelend.com

*Contact Us via email at support@westsidelend.com

Please note:

_ If You are a new customer, We can begin sharing Your information 30 days from the
date We sent this notice. When You are no longer our customer, We can share Your

information as described in this notice. However, You can contact Us at any time to

limit our sharing.

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Bea eee

Who Is providing
this notice?

West Side Lending, LLC, a business entity of the Menominee Tribe of Wisconsin

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How does West Side Lending, LLC protect
my personal information?

To protect Your personal information from unauthorized access
and use, We use security measures. These measures Include
computer safeguards and secured files and buildings.

How does West Side Lending, LLC collect
my personal information?

We collect Your personal information, for example, when You
*Apply for a loan

*Give Us Your income information

*Tell Us where to send the money

*Provide account information

*Provide employment information

We also collect Your personal information from others, such as
credit bureaus, affillates or other companies.

Why can't I limit all sharing?

You have the right to limit only

*sharing for affillates' everyday business purposes - Information
about Your creditworthiness

*affiliates from using Your information to market to You
*sharing for non-affillates to market to You

What happens when I limit sharing for an
account I hold jointly with someone else?

Your choices will apply to everyone on your account.

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Companies related by common ownership or control. They can be financial and
Affiliates nonfinancial companies.
*Our affillates include other business entitles of the Tribe.

Non-affillates

Companies not related by common ownership or control. They can be financial and
nonfinancial companies.

A formal agreement between non-affiliated financial companies that together market
Joint marketing financial products or services to You.
West Side Lending, LLC, does not jointly market.

